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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

 

ERIC ALI,

Plaintiff,

. 16-cv-01994 (ALC)
-agalnst-

CoURT oFFICER T. ELEAZAR RAMos OPINION AND CRDER
sHIELD No. 7217 AND CoURT oFFICER
JoHN DoE 1

Defendants.

 

 

ANDREW L. CARTER, JR., United States District Judge:

Plaintiff Eric Ali brings this suit against Defendants Court Officer T. Eleazar Ramos
(“Ramos”) and John Doe 1 (“John Doe”). The Complaint alleges four claims pursuant to 42
U.S.C. § 1983: (1) deliberate indifference to his safety and medical needs in violation of the
Fourteenth Amendment; (2) excessive force; (3) conspiracy to deprive Plaintiff of his right to be
free from deliberate indifference; and (4) failure to intervene as to John Doe. Defendant Ramos
has moved to dismiss the complaint pursuant to Fed. R. Civ. P. 12(b)(6).l For the reasons that

follovv, Defendant’s motion to dismiss is GRANTED in part and DENIED in part.

 

l The motion to dismiss is filed on behalf of Defendant Ramos only. John Doe has not appeared in this action and
thus has not filed a motion to dismiss However, Defendant Ramos asserts that “to the extent the Court dismisses
the claims against Officer Ramos, the claims arguably should be dismissed against Officer Doe l as well.” Def
Memorandum of Law in Support of Motion to Dismiss at 6 n.l (ECF No. 47) (“Def Memo”). This Court “may
dismiss a complaint sua sponte for failure to state a claim, as long as the plaintiff has been given an opportunity to
be heard.” Sona's v. St. Barnabas Hosp. Corr. Health Servs., 151 F. Supp. 2d 303, 313 (S.D.N.Y. 2001) (citing
Thomas v. Scully, 943 F.Zd 259, 260 (Zd Cir. 1991)). Since Plaintiff has had an opportunity to be heard through
briefing Ramos’ Motion to Dismiss, this Court Will consider sua sponte a motion to dismiss the complaint as to John
Doe.

 

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BACKGROUND
I. Factual Background

The following facts are taken from allegations contained in the Second Amended
Complaint and are presumed to be true for purposes of this motion to dismiss

On July 21, 2015, Plaintiff appeared before Judge Charles H. Solomon in NeW York
County Supreme Court on a pending criminal matter. Second Arnended Complaint 11 10 (ECF
No. 39) (“SAC”). At the time, Plaintiff Was confined at Ril<ers lsland. Id. 11 5. During the
appearance, Plaintiff loudly voiced his concerns about his case and how it Was proceeding Id. 11
10. The court appearance Was “boisterous.” Id.

FolloWing the proceeding, Ramos and/or John Doe, both Correction Ofiicers Within the
NeW York State Office of Court Administration assigned to the NeW York State Supreme Court,
New York County, Criminal Term, handcuffed Plaintiff. Id. Defendants applied the handcuffs
unnecessarily and excessively tight. Id. Plaintiff alleges this Was a purposeful attempt to inflict
pain upon Plaintiff for his behavior in court. Ia’,

Plaintiff immediately voiced the extreme pain and discomfort he experienced as a result
of the tight handcuffs Ia’. lnitially, Defendants ignored these protestations Id. Plaintiff
continued expressing his pain and discomfort, including complaints of numbness and tingling in
his left Wrist. Id. 11 11. Additionally, his hand began visibly SWelling Id.

After his continued protestations, Defendants “allegedly” tried to remove the handcuffs
Id. During this process, Defendants broke the key in the lock to the handcuff. ld. As a result,
Plaintiff remained handcuffed for a longer period of time, causing more damage to his hand. Ia’.

As Plaintiff subsequently clarified, he used the Word “allegedly” because he contends that

 

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Defendants intentionally broke the key in the lock. Plaintiff’ s Memorandum in Opposition to
Motion to Dismiss at 10 (ECF No. 49) (“Pl Memo”).

After a “significant delay,” the New York City Fire Department Was called at the
direction of Judge Solomon. SAC 11 11. The Department successfully removed the handcuffs
Ia’.

The incident left Plaintiff With “permanent injury and [he] continues to suffer from loss
of use of his hand as a result of Defendants’ actions.” Ia’.

II. Procedural Background

On March 17, 2016, Plaintiff filed a complaint commencing this action against Anthony
J. Annucci, Acting Commissioner of the Nevv York State Department of Corrections and
Community Supervision, and Ramos ECF No. 1. Plaintiff amended the complaint on June 16,
2016, removing Annucci and adding Lawrence K. Marks, Chief of Public Safety, NeW York
State Office of Court Administration and John Doe as defendants ECF No. 15 (“FAC”).
Defendant filed a Motion to Dismiss the FAC on February 28, 2017. ECF No. 32. On March
23, 2017, the Court denied the Motion to Dismiss Without prejudice as moot and granted Plaintiff
leave to file a Second Amended Complaint (“SAC”). ECF No. 37. Plaintiff filed the SAC on
March 28, 2017, removing Marks as a defendant ECF No. 39.

On April 24, 2017, Defendant Ramos filed a Motion to Dismiss the SAC for failure to
state a claim under Fed. R. Civ. P. 12(b)(6).2 Def Memo. Plaintiff filed his opposition to the
motion on May 15, 2017. Pl. Memo. Defendant replied on l\/lay 22, 2017. ECF No. 50 (“Def
Reply”).

Accordingly, the Court considers the motion fully submitted

 

2 Defendant also cites Rule 12(b)(l) in the “standards of review” section of its brief, but makes no claims for lack of
subject-matter jurisdiction See Def Memo at 8. Accordingly, this Court will not address such claims

 

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LEGAL STANDARD

Rule 12(b)(6) allows the Court to dismiss a claim if a party fails “to state a claim upon
which relief can be granted.” Fed. R. Civ. P. 12(b)(6). When deciding a motion to dismiss, the
Court must “accept as true all factual statements alleged in the complaint and draw all reasonable
inferences in favor of the non-moving party.” McCarthy v. Dun & Bradstreet Corp., 482 F.3d
184, 191 (Zd Cir. 2007). However, the court need not credit “[t]hreadbare recitals of the
elements of a cause of action, supported by mere conclusory statements.” Ashcroft v. Iqbal, 556
U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

Claims should be dismissed when a plaintiff has not pled enough facts that “plausibly
give rise to an entitlement for relief.” Id. at 679. A claim is plausible “when the plaintiff pleads
factual content that allows the Court to draw the reasonable inference that the defendant is liable
for the misconduct alleged.” Id. at 678 (citing Twombly, 550 U.S. at 556). While not akin to a
“probability requirement,” the plaintiff must allege sufficient facts to show “more than a sheer
possibility that a defendant has acted unlawfully.” Id. (citing Twombly, 550 U.S. at 556).
Accordingly, where a plaintiff alleges facts that are “‘merely consistent with’ a defendant’s
liability, it ‘stops short of the line between possibility and plausibility of entitlement to relief.”’
Id. (quoting Twombly, 550 U.S. at 557).

“To state a claim under § 1983, a plaintiff must allege that (l) the challenged conduct
was attributable at least in part to a person who was acting under color of state law; and (2) the
conduct deprived the plaintiff of a right guaranteed under the Constitution of the United States.”
Snider v. Dylag, 188 F.3d 51, 53 (2d Cir. 1999). A complaint under § 1983 “must contain

specific allegations of fact which indicate a deprivation of constitutional rights; allegations which

 

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are nothing more than broad, simple, and conclusory statements are insufficient to state a claim
under § 1983.” Alfaro Motors, Inc. v. Wara’, 814 F.2d 883, 887 (2d Cir. 1987).
DISCUSSION

Plaintiff claims that Defendants deprived him of Fourteenth Amendment rights in
violation of 42 U.S.C. § 1983.3 lt is undisputed that Defendants, as court officers, acted under
color of state law. The issue is whether their conduct deprived Plaintiff of his constitutional
rights and, if so, whether qualified immunity shields Defendants from liability.

As an initial matter, the complaint does not specify which defendant took each alleged
action. However, this is not fatal at the motion to dismiss stage. See Folk v. City of N. Y., 243 F.
Supp. 3d 363, 370 (E.D.N.Y. 2017) (“While Plaintiff must prove the roles the lndividual
Defendants played . . . to prevail on the merits, this Court will not dismiss her claims at this stage
solely because her narrative is imprecise as to each lndividual Defendant’S role.”) (internal
citation omitted).

I. Deliberate Indifference

ln order to prove deliberate indifference, a plaintiff “must allege acts or omissions
sufficiently harmful to evidence deliberate indifference to serious medical needs.” Estelle v.
Gamble, 429 U.S. 97, 106 (1976). To do so, a plaintiff must satisfy (l) an “objective prong,”

showing that the violations were “sufficiently serious to constitute objective deprivations of the

 

3 Although the SAC alleges Fourteenth Amendment violations, Plaintiff’ s Opposition Memorandum alleges Eighth
Amendment violations Pl Memo at 9-10, 13-14. Since Plaintiff was a pre-trial defendant, his claims are governed
by the Due Process Clause of the Fourteenth Amendment, rather than the Cruel and Unusual Punishments Clause of
the Eight Amendment. See Darnell v. Pineiro, 849 F.3d 17, 29 (2d Cir. 2017). Additionally, Plaintiff did not raise
an Eighth Amendment claim in his Complaint, and cannot use an opposition brief as a vehicle for asserting new
claims See Pandozy v. Segan, 518 F. Supp. 2d 550, 554 n.l (S.D.N.Y. 2007) (collecting cases). Regardless, “[a]
detainee's rights are ‘at least as great as the Eighth Amendment protections available to a convicted prisoner.”’
Damell, 849 F.3d at 29 (quoting Cin ofRevere v. Massachusetts Gen. Hosp., 463 U.S. 239, 244 (1983)).
Accordingly, this Court will treat his claims as arising under the Fourteenth Amendment However, the analysis
would not differ if this Court had considered his claims under the Eighth Amendment

 

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right to due process” and (2) a “mental element prong,” showing that “the officer acted with at
least deliberate indifference to the challenged conditions.” Darnell v. Pineiro, 849 F.3d 17, 29
(2d Cir. 2017).

A. Objective Prong

Under the “objective prong,” the plaintiff must show that the alleged deprivation of
treatment was “sufficiently serious,” meaning that his medical need was “a condition of urgency,
one that may produce death, degeneration, or extreme pain.” Hill v. Curcione, 657 F.3d 116, 122
(2d Cir. 2011) (quoting Haihaway v. Coughlin, 99 F.3d 550, 553 (2d Cir. 1996)). “There is no
‘static test’ to determine whether a deprivation is sufficiently serious; instead, ‘the conditions
themselves must be evaluated in light of contemporary standards of decency.”’ Darnell, 849
F.3d at 30. Relevant factors in this inquiry include “[t]he existence of an injury that a reasonable
doctor or patient would find important and worthy of comment or treatment; the presence of a
medical condition that significantly affects an individual's daily activities; or the existence of
chronic and substantial pain.” Rodriguez v. Corizon Healih Care, No. 15-5251, 2016 WL
3766397, at *2 (S.D.N.Y. July ll, 2016) (citing Chance v. Armstrong, 143 F.3d 698, 702 (2d
Cir. 1998)). A plaintiff need not show that he “experiences pain that is at the limit of human
ability to bear” or that his “condition will degenerate into a life-threatening one.” Brock v.
Wrighi‘, 315 F. 3d 158, 163 (2d Cir. 2003).

When a petitioner’s claim is based in “a temporary delay. . . in the provision of otherwise
adequate medical treatment, it is appropriate to focus on the challenged delay or interruption in
treatment rather than the prisoner's underlying medical condition alone.” Smiih v. Carpenier,

316 F.3d 178, 185 (2d Cir. 2003) (emphasis in original).

 

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Here, given this early pleading stage, Plaintiff has satisfied the objective prong This
Circuit has held that dismissal is improper where plaintiffs alleged significant and permanent
injuries resulting from tight handcuffs See Davidson v. Flynn, 32 F.3d 27, 29-30 (2d Cir. 1994)
(claim that “handcuffs were allegedly placed on the plaintiff ‘too tight[ly],’ leading to serious
and permanent physical injury” including a scar, cuts, swelling, and wrist numbness for several
months, satisfied objective prong of deliberate indifference claim).

While Defendant relies on cases rejecting claims similar to those alleged here, many of
those cases were decided at the summary judgment stage-a more exacting Standard_and
plaintiffs generally had not alleged permanent injuries See, e.g, Perez v. City of N.Y., No. 07-
10319, 2009 WL 1616374, at *9 (S.D.N.Y. June 8, 2009) (holding, on motion for summary
judgment, that “swelling and reddening” from tight handcuffs did not constitute sufficiently
serious injury when Plaintiff “[did] not allege he experienced any ‘serious and permanent
physical injury”’).

At this early stage, Plaintiff’s claims that the tight handcuffs caused “numbness and
tingling in his left wrist” and “visible swelling” of one of his hands; that this pain was
exacerbated by the delay in removing the handcuffs; and that he has been left with “permanent
injury and continues to suffer from loss of use of his hand” meets the objective prong See SAC
1111 10-11.

B. Mental Element Prong

The “mental element prong” no longer requires a showing of subjective intent. Darnell,

849 F.3d at 29.4 As this Circuit recently held, a plaintiff “must prove that the defendant-official

 

4 Although Darnell addressed a conditions of confinement claim, its reasoning “applies equally to claims of
deliberate indifference to serious medical needs under the Fourteenth Amendment.” Lloyd v. City of N. Y., 246 F.
Supp. 3d 704, 718 (S.D.N.Y. 2017).

 

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acted intentionally to impose the alleged condition, or recklessly failed to act with reasonable
care to mitigate the risk that the condition posed . . . even though the defendant-official knew, or
should have known, that the condition posed an excessive risk to health or safety.” Id. at 35. “ln
other words,” the court explained, “the ‘subjective prong’ (or ‘mens rea prong’) of a deliberate
indifference claim is defined objectively.” Id. Nevertheless, “any § 1983 claim for a violation of
due process requires proof of a mens rea greater than mere negligence.” Id. at 36.

With regard to complaints of excessively tight handcuffs a court Should consider not
only “the use of handcuffs,” but also “their deliberate and improperly motivated application so
tightly as to injure.” Davidson v. Flynn, 32 F.3d 27, 30 (2d Cir. 1994).

Taken as true, Plaintiff’s allegations show that Defendants intentionally handcuffed him
tightly “in order to administer pain upon the plaintiff and punish him” for acting “boisterous[ly]”
in court. SAC 11 11. Further, Defendants knew, or should have known, of a risk to Plaintiff’s
safety, as Plaintiff told Defendants that he was experiencing numbness, tingling, and swelling
Id. The Complaint alleges that Defendants disregarded that risk through initially ignoring
Plaintiff s protestations regarding his pain, and then breaking the key in the lock and otherwise
not diligently attempting to free him.

At this early stage, Plaintiffs allegations are sufficient to meet the mental element prong

Accordingly, Defendant’s motion to dismiss the deliberate indifference claim is DENIED.

II. Excessive Force
ln order to prevail on an excessive force claim, a plaintiff must show that the “use of
force was objectively unreasonable in light of the circumstances without regard to [Defendant’s]
underlying intent or motivation.” Livignia v. Oriega, No. 15-9454, 2016 WL 6143351, at *4

(S.D.N.Y. Oct. 19, 2016) (citing Graham v. Conor, 490 U.S. 386, 397 (1989)). This Circuit has

 

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recognized that “excessively tight handcuffing that causes injury can constitute excessive force.”
Shamir v. City ofN. Y., 804 F.3d 553, 557 (2d Cir. 2015). ln determining whether officers
applied handcuffs reasonably, courts “consider evidence that: 1) the handcuffs were
unreasonably tight; 2) the defendants ignored the [plaintiff s] pleas that the handcuffs were too
tight; and 3) the degree of injury to the wrists.” Lynch ex rel. Lynch v. City ofMouni Vernon,
567 F. Supp. 2d 459, 468 (S.D.N.Y. 2008) (quoting Esmoni v. City OfN. Y., 371 F. Supp. 2d 202,
215 (E.D.N.Y. 2005)) (emphasis in on`ginal). With regard to the injury prong, “[t]here is a
consensus among courts in this circuit that tight handcuffing does not constitute excessive force
unless it causes some injury beyond temporary discomfort.” Id. at 468 (collecting cases).

First, Plaintiff s allegation that Defendants handcuffed him “unnecessarily and
excessively tight” satisfies prong one. See SAC 11 10.

Second, Plaintiff alleges that he “[i]mmediately . . . protested the extreme pain and
discomfort that he was experiencing,” but that his pleas “were initially ignored by the
defendants.” Id.5 This separates Plaintiffs claim from cases relied on by Defendant wherein the
plaintiff never alleged that the defendant ignored their complaints See, e.g., Case v. Cily of N. Y.,
233 F. Supp. 3d 372, 385 (S.D.N.Y. 2017) (plaintiffs “fail to allege that they complained about
their handcuffs [or] that Defendants ignored such complaints”).

Defendant counters that he “earnestly attempt[ed] to remove his handcuffs.” Def Mem at
16. However, at this stage the Court must take Plaintiff’s allegations as true. According to the

complaint, Defendants’ efforts were not earnest; rather, Defendants intentionally delayed the

 

5 Defendant notes that Plaintiff failed to previously allege that Defendants initially ignored his pleas for help.
However, “it is settled law that any amended complaint completely replaces any prior complaint.” Hernandez v.
Goord, No. 01-9585, 2009 WL 3963922, at *1 (S.D.N.Y. Nov. 16, 2009). Accordingly, this Court will only
consider allegations in the SAC.

 

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removal of the handcuffs by breaking the key in the handcuffs Pl Memo at 10. Defendant
contends that this is a mere “belief” rather than an “allegation of fact.” Def Memo at 18-19.
However, at this early stage Plaintiffs allegations are sufficient to survive a motion to dismiss

Third, Plaintiff alleges that he suffered “permanent injury” and presently suffers from
“loss of use of his hand” as a result of Defendants’ actions SAC 11 11. Defendant contends that
this allegation is a mere “formulaic recitation of the elements of a cause of action,” and thus
insufficient to survive a Rule 12(b)(6) motion. Def Mem at 17. However here too, at this early
pleading stage, Plaintiff has stated a plausible claim.

Accordingly, Defendant’s motion to dismiss the excessive force claim is DENIED.

III. Conspiracy

To prove conspiracy under § 1983, “a plaintiff must show: (1) an agreement between two
or more state actors or between a state actor and a private entity; (2) to act in concert to inflict an
unconstitutional injury; and (3) an overt act done in furtherance of that goal causing damages”
Pangburn v. Cull)erison, 200 F.3d 65, 72 (2d Cir. 1999). ln this analysis, “complaints containing
only conclusory, Vague, or general allegations that the defendants have engaged in a conspiracy
to deprive the plaintiff of his constitutional rights are properly dismissed; diffuse and expansive
allegations are insufficient, unless amplified by specific instances of misconduct.” Ciaml)riello
v. Ciy ofNasSau, 292 F.3d 307, 325 (2d Cir. 2002) (quoting Dwares v. Cily ofN,Y., 985 F.2d 94,
100 (2d Cir. 1993)). Nevertheless, this Circuit has “recognized that such ‘conspiracies are by
their very nature secretive operations,’ and may have to be proven by circumstantial, rather than
direct, evidence.” Pangburn, 200 F.3d at 72 (citing Rousenville v. Zahl, 13 F.3d 625, 632 (2d

cir. 1994)).

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Defendants argue, first, that Plaintiff" s conspiracy claim should be barred by the
intracorporate conspiracy doctrine. The intracorporate conspiracy doctrine provides that the
“officers, agents, and employees of a single corporate entity are legally incapable of conspiring
together.” Chamberlain v. City of th'l‘e Plains, 986 F. Supp. 2d 363, 388 (S.D.N.Y. 2013)
(quoting Hartline v. Gallo, 546 F.3d 95, 99 n.3 (2d Cir. 2008)). Under the “personal stake”
exception, the doctrine does not apply “when the alleged conspirators are motivated by an
improper personal interest separate and apart from that of their principa .” ld. (collecting cases).

This Circuit “has recognized the intracorporate conspiracy doctrine in the context of §
1985.” Ali v. Connick, 136 F. Supp. 3d 270, 282 (E.D.N.Y. 2015) (citing Herrnann v. Moore,
576 F.2d 453, 459 (2d Cir. 1978)). Yet while several courts within this Circuit have applied the
doctrine to § 1983 cases, the Circuit it has not yet extended the doctrine to § 1983. Id. at 282
(collecting cases).

Regardless, this Court does not need to determine whether the intracorporate conspiracy
doctrine or “personal stake” exception applies because Plaintiff has failed to plead conspiracy
with sufficient specificity. Plaintiff alleges that Defendants “forrned agreements with eachother
to inflict unconstitutional injuries on plaintiff ’ in order to “punish the plaintiff for his verbal
outburst in Court” by handcuffing him excessively tightly; breaking the key in the lock; and
delaying obtaining necessary help to have the handcuffs removed. SAC 11 22. Plaintiff’ s vague
allegations are insufficient to constitute a “meeting of the minds” to show a conspiracy here. See
Wel)b v. Goord, 340 F.3d 105, 110-ll (2d Cir. 2003) (dismissal under Rule 12(b)(6) proper
where “plaintiffs have not alleged, except in the most conclusory fashion, that any such meeting
of the minds occurred among any or all of the defendants”).

Accordingly, Defendant’s motion to dismiss the conspiracy claim is GRANTED.

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IV. Failure to Intervene

An officer “has an affirmative duty to intercede on the behalf of a citizen whose
constitutional rights are being violated in his presence by other officers.” 0 ’Neill v. Krzeminski,
839 F.2d 9, ll (2d Cir. 198 8) (collecting cases). An officer is only liable for failure to intervene
if “(1) the officer had a realistic opportunity to intervene and prevent the harm; (2) a reasonable
person in the officer's position would know that the victim’s constitutional rights were being
violated; and (3) the officer does not take reasonable steps to intervene.” Jean-Laureni v.
Wilkinson, 540 F. Supp. 2d 501, 512 (S.D.N.Y. 2008) (citing U’Neill, 839 F.2d at 11-12)). “An
underlying constitutional violation is an essential element of a failure to intercede claim under §
1983.” Henry-Lee v. City ofN.Y., 746 F. Supp. 2d 546, 566 (S.D.N.Y. 2010).

Here, Plaintiff asserts that John Doe failed to intervene to stop Ramos from applying the
handcuffs too tightly. SAC 1111 25-26. This claim directly conflicts with Plaintiff s previous
allegations that both defendants are responsible for deliberate indifference, excessive force, and
conspiracy with regards to the handcuffing See id. jH[ 13, 18, 21. l\/loreover, other parts of the
complaint are unclear as to which defendant administered the handcuffing or broke they key in
the lock. See id. 11 ll.

Since this Court determined that Plaintiff “has properly alleged a constitutional violation,
he is entitled to discovery to determine which officers participated directly in the alleged
constitutional violations and which officer[] [was] present and failed to intervene.” Gersbacher
v. Ciiy ofN. Y., 134 F. Supp. 3d 711, 725 (S.D.N.Y. 2015) (internal quotation marks and citation
omitted). Accordingly, Plaintiff can proceed with his deliberate indifference and excessive force

claims, arguing failure into intervene by one defendant in the alternative. However, he “will

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ultimately need to refine [his] allegations with regard to the roles played by each of the
[defendants].” Folk v. City ofN.Y., 243 F. Supp. 3d 363, 376 (E.D.N.Y. 2017).
Accordingly, Defendant’s motion to dismiss the failure to intervene claim is DENIED.
V. Qualified Immunity

Qualified immunity “protects government officials ‘from liability for civil damages
insofar as their conduct does not violate clearly established statutory or constitutional rights of
which a reasonable person would have known.”’ Pearson v. Callahan, 555 U.S. 223, 231 (2009)
(quoting Harlow v. Fitzgerald, 457 U.S. 800, 810 (1982)). Because qualified immunity is an
affirmative defense, the defendant bears the burden of proof. Lore v. City of Syracuse, 670 F.3d
127, 149 (2d Cir. 2012).

This Circuit has held that “[u]sually, the defense of qualified immunity cannot support
the grant of a [Rule] 12(b)(6) motion for failure to state a claim upon which relief can be
granted.” McKenna v. Wright, 386 F.3d 432, 435 (2d Cir. 2004) (emphasis added in McKenna).
However, a court may consider qualified immunity at this stage “as long as the defense is based
on facts appearing on the face of the complaint.” Benzman v. Whitnian, 523 F.3d 119, (2d Cir.
2008) (quoting McKenna, 386 F.3d at 436).

Of course, at this early pleading stage a defendant is subject to “the more stringent
standard applicable to this procedural route.” McKenna, 386 F.3d at 436. “Not only must the
facts supporting the defense appear on the face of the complaint, but, as with all Rule l2(b)(6)
motions, the motion may be granted only where it appears beyond doubt that the plaintiff can
prove no set of facts in support of his claim that would entitle him to relief.” Id. (intemal
citations and quotation marks omitted); See also Garcia v. Does, 779 F.3d 84, 96-97 (2d Cir.

2015) (“[l]t is certainly true that motions to dismiss a plaintiffs complaint under Rule l2(b)(6)

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on the basis of an affirmative defense will generally face a difficult road.”). Accordingly, “the
plaintiff is entitled to all reasonable inferences from the facts alleged, not only those that support
his claim, but also those that defeat the immunity defense.” McKenna, 386 F.3d at 43 6.

When assessing qualified immunity, a court first determines “whether the facts shown
‘make out a violation of a constitutional right.”’ Taravella v. T own of Wolcoii, 599 F.3d 129,
133 (2d Cir. 2010) (quoting Pearson, 555 U.S. at 223) ‘6 Then, a court will grant qualified
immunity if “one of two conditions is satisfied: (a) the defendant's action did not violate clearly
established law, or (b) it was objectively reasonable for the defendant to believe that his action
did not violate such law.” Garcia, 779 F.3d at 92 (quoting Russo v. City of Bridgepori, 479 F.3d
196, 211 (2d Cir. 2007)). Whether “qualified immunity applies in a particular case ‘generally
turns on the objective legal reasonableness’ of the challenged action, ‘assessed in light of the
legal rules that were clearly established at the time it was taken.”’ DiStiso v. Cook, 691 F.3d
226, 240 (2d Cir. 2012) (quoting Messerschmidt v. Millender, 565 U.S. 535, 546 (2012)). An act
is “0bjectively reasonable” if ‘officers of reasonable competence could disagree’ on the legality
of the defendant's actions.” Lennon v. Miller, 66 F.3d 416, 420 (2d Cir. 1995) (quoting Malley v.
Briggs, 475 U.S. 335, 341 (1986)).

First, as stated supra Plaintiff has made out claims for excessive force, deliberate
indifference, and failure to intervene

Second, “[i]t is beyond dispute that the right to be free from excessive force has long
been clearly established.” Green v. Montgomery, 219 F.3d 52, 59 (2d Cir. 2000). Moreover, “it

is axiomatic” that the “right under the Fourteenth Amendment to be free from . . . deliberate

 

6 Courts are no longer required to first determine whether a plaintiff has alleged facts that make out a constitutional
violation, and can proceed directly to the question of whether such violations were “clearly established.” Pearson,
555 U.S. at 236. However, determining the existence of a constitutional right first is still “often beneficial.” Id.

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indifference to serious medical needs [] is clearly established.” Bradway v. T own of
Southhampion, 826 F. Supp. 2d 458, 475 (E.D.N.Y. 2011) (citing Esielle v. Gamble, 429 U.S.
97 , 104-05 (1976)). Since such rights were clearly established, failing to intervene was
objectively unreasonable Cf Holland v City OfN.Y., 197 F. Supp. 3d 529, 549-50 (S.D.N.Y.
2016).

Third, on the face of the complaint it is unclear whether it was objectively reasonable for
Defendants to believe their actions did not violate the law. While Defendants may ultimately
prevail on their qualified immunity defense, “the Court cannot, based on the pleadings alone,
determine that [the officers’ actions were] objectively reasonable.” Berrio v. City of N. Y., No.
15-9570, 2017 WL 118024, at *4 (S.D.N.Y. Jan. 10, 2017).

Accordingly, Defendant’s motion to dismiss the conspiracy claim is GRANTED.
Defendant’s motion to dismiss the deliberate indifference, excessive force, and failure to

intervene claims are DENIED.

so oRDERED. Qm/?uv y 7 £/&_%

Dated: March 14, 2018

 

New York, New York ANDREW L. CARTER, JR.
United States District Judge

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